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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

INRE

Case No. 15-11916-T'RC
Chapter 7

Alexander Louis Bednar,

Debtor.

\_/\/\/V\_/

Alexander L. Bednar,
Plainn`ff,

V. Adv. Pro. NO. 18-1096

Franklin Atnerican Mortgage Company,

Federal National Mortgage Association,

Oklahoma County Sheriff,

Defendants.

\_/\_/\_/\/\/\/\/\/\/\_/\_/

Alexander Bednar,
Plaint`lff,

V.

RCB Bank,

Defendant.

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SPECIAL ENTRY OF APPEARANCE AND (1) OB]ECTION TO MOTION FOR
STAY, PRELIMINARY IN]UNCTION PENDING APPEAL AND
CONSIDERATION OF SANCTIONS AGAINST FANNIE MAE AND FRANKLIN
AMERICAN FOR INAPPROPRIATE ACTIONS REGARDING A SUBPOENA;
AND (2) OBIECTION TO REOUEST FOR EXPEDITED HEARING

RCB Bank, specially, enters it appearance so that it may object to the Motion for Stay,
Preliminary Injunction Pending Appeal and Consideration of Sancu`ons Against Fannie Mae and
Franklin Arnerican for Inappropriate Actions regarding a Subpoena (the “Motion”) filed by
Alexander Bednar on March 15, 2019; and his Request Of Expedited Hearing. RCB Bank Would show

this Court as follows:

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1. This is the second Motion for Stay or Injunction filed by Mr. Bednar seeking to enjoin
Fannie Mae and Franklin Arnerican from continuing its foreclosure action; and enjoin RCB Bank from
alleged ongoing Violations “of this Court’s Order to rnediate.”1

2. On Novernber 8, 2018, this Court denied Mr. Bednar’s first Request for Ernergency
Relief; and dismissed this AdVersary Proceeding.

3. On November 21, 2018, Mr. Bednar filed his Notice of Appeal with the Tenth Circuit

Bankruptcy Appellate Panel.

4. Briefing is complete as to the issues on appeal; and oral argument is set for May 29,
2019.

5. ln this Motion, his second request for an injunction, Mr. Bednar alleged:

- “Defendants Frank]in Arnerican and Fannie Mae’s Averrnents of Past
Mortgage, and Interest Accrued Post Discharge in Their Request for ]udgment in C]-2016-
50004 Violates Bankruptcy Law \X/hich Itnposes an Injunction Against Thern as an Operation
of Law”,

- “RCB Should be Enjoined for Ongoing Violations of this Court’s Order to
Mediate as Well as the Adversarial Proceeding Settlernent Agreernent per Rule 105, as this
Court has the PoWer to Review as a Contempt Action RCB’s F ailure to Mediate in Good Faith
(implied in this Court’s Order) and the Core.Proceeding Ability to Interpret and Enforce the
Mediation Agreernent”,

- “Franklin Arnerican Knows it Lost its Security Agreetnent in the First Sheriff
Sale in C]-2015-192, hence its Zealous Violanon of Bankruptcy Law via Aggressive Unlawful

Litigau'en in cj_2016_5004”, and

 

1 This Court did not order the parties to mediate. lt did appoint a Settlernent Conference ]udge
Wherein a Written Settlernent Agreernent Was executed by and between RCB Bank and Mr. Bednar.

2

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- “This Court Should Issue a Preliminary Injunction for Violations of State Law
as well as Bankruptcy Law”

These allegations were raised in the first request for injunctive relief and are among the issues
on appeal. RCB Bank disputes the allegations made by Mr. Bednar in the Motion. Since Mr. Bednar
has raised no new issues; his Motion should be denied.

Furthermore, Mr. Bednar has not established the factors required for this Court to enter
injunctive relief:

a. Mr. Bednar has not shown a strong or substantial likelihood or probability of
success on the merits. This Court and Judge Hall have already considered and denied the
relief requested.

b. Mr. Bednar has not shown irreparable harm. Mr. Bednar no longer owns or
lives in the property. Damages for the value of the property are an appropriate remedy.

c. Mr. Bednar has not shown that issuance of an injunction would not cause
substantial harm to others. His Motion is silent as to this factor.

d. Mr. Bednar has not shown that the public interest would be served by issuing
an injunction. His Motion is silent as to this factor.

6. Mr. Bednar raised one other allegation for injunctive relief: “Defendants Fannie Mae
and Franklin Ameriean are Harrassing (sic) the Recipient of a-Recent Subpoena, Misrepresenting the
Law to that Person, and are Pressuring that Person in Violation of Ethics and Rule 45, Demonst:rating
Continued Wil]ingness to Violate the Law - Supporting an Immediate Injunction and Stay”.

On February 26, 2019, this Court entered its Order deferring Mr. Bednar’s Motion to Quash
this Subpoena. RCB Bank believes Fannie Mae and Frank]in American issued the Subpoena to
determine the veracity of Mr. Bednar relating to a pleading he filed in the appeal. RCB Bank’s decision

to not further respond to this allegation is not a ratification of the allegation

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7. Mr. Bednar seeks an emergency hearing for this Court to enter an injunction because
he believes “Fannie Mae is currently actively attempting to sell the Debtor’s homestead. . .”
8. Mr. Bednar’s request for an emergency hearing should be denied because:
a. The property is not property of the estate. This Court granted RCB Bank relief
from the automatic stay and directed abandonment of the property on September 14, 2015.
b. In a state court foreclosure case, Franklin American purchased the property at
shetiff’s sale, the state court confirmed the sale on September 6, 2018, and the confirmation
order is final. Franklin American owns the property and should not be prohibited as to its
peaceful enjoyment of the property _ which includes sale of the property. Furthermore, the
Honorable Sarah A. Hall and this Court have previously ruled that Mr. Bednar’s actions are
violations of the Roo,éer-Fe/dman doctrine.
c. There is no emergency The house has already been sold to Franklin
American. If Mr. Bednar is entitled to relief, monetary damages will be an appropriate remedy.
WHEREFORE, RCB Bank prays that this Court deny the Motion for Stay and Injunction;
and the Request of an Emergency Hearing.
Rei]>ecy[z¢/b) submi#ed z‘/)z`s 29”’ day cy"Marc/J, 2079.

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ORBISON & LEWIS

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Al'l‘om§’ysfor RCB Bank

 

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Certificate of Service

I, Scott P. Kirtley, certify that on the 29th day of March, 2019, a copy of the above captioned
pleading was served upon all parties appealing on the CM/ECF system,

And e-mailed to:

Alexander L. Bednar: bednarconsultm ;s_)_mail.com

 

amf /<a

Scott P. Kirtley

 

